Case 2:94-cr-20083-SHI\/| Document 88 Filed 08/29/05 Page 1 of 2 Page|D 8

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UNITED sTATEs DIsTRICT COURT
WESTERN DISTRICT 0F TENNESSEE 95 AUG 29 ppg l,, 52
Western Division r_

  
    

UNITED STATES oF AMERICA l ' C¥~E.",, " "`TCOUHT
HJ`.,' 5..,"` zl»: "`."I:WHJS
-vs- Case No. 2:94cr20083-Ma

AARON DALE THOMAS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsei. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' Probation/Supervised Release Violation

by
DONE and ORDERED in 167 North Main, Memphis, this 0?¢>¢ day of August,

’©W 16 Zdé/%"

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attomey

United States Marshal

Pretrial Services Off`lce

Assistant Federal Public Defender
Intake

AARON DALE THOMAS

Thls docL,ment entered on the docket sh t in comp!iance
with Rilie 55 and/or 321b) FHCrP on .__§_Z_'_Q§.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 iii
case 2:94-CR-20083 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

